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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA, et al.,
                               Plaintiffs,
                                                  Case No. 1:20-cv-03010-APM
        v.
                                                  HON. AMIT P. MEHTA
 GOOGLE LLC,
                               Defendant.


                    DECLARATION FOR PRO HAC VICE ADMISSION
                     (to be attached to Motion for Pro Hac Vice Admission)

       In accordance with LCvR 83.2(c)(2) and LCvR 44.1(c)(2), I hereby declare that the

answers to the following questions are complete, true, and correct:

1.     Full Name:     Ashok Ramani

2.     State bar membership number:          200020 (State Bar of California)

3.     Business address, telephone and fax numbers:
       Davis Polk & Wardwell LLP, 900 Middlefield Road, Suite 200
       Redwood City, CA 94063
       Tel: (650) 752-2000, Facsimile: (650) 752-3607

4.     List all state and federal courts or bar associations in which you are a member “in good
       standing” to practice law:
       State of California; Court of Appeals for the Federal and Ninth Circuits; U.S. District
       Court for the Northern, Southern, Eastern, and Central Districts of California; U.S.
       District Court for the District of Colorado; and the U.S. District Court for the Eastern
       District of Texas.

5.     Have you been denied admission, disbarred, suspended from practice, reprimanded,
       denied “in good standing” status, or otherwise disciplined by any court, bar association,
       grievance committee or administrative body?

       Yes ☐        No ☒

6.     Have any proceedings which could lead to any such disciplinary action been instituted
       against you in any such bodies?

       Yes ☐        No ☒
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7.     List the number of times the attorney has been admitted pro hac vice into this court
       within the last two years.    Zero.

8.     Are you a member of the DC Bar?        No.

9.     Do you have a pending application for admission into USDC for the District of
       Columbia?     No.

In compliance with Local Rule 83.2(b) or LCrR 44.1(b), an attorney who wishes to appear
  as sole or lead counsel in a contested evidentiary hearing or trial on the merits further
                                     certifies that he/she:

                            (CHECK ALL ITEMS THAT APPLY)



 1. ☐     has previously acted as sole or lead counsel in a federal district court or the Superior
          Court of the District of Columbia or a state trial court of general jurisdiction in a
          contested jury or bench trial or other contested evidentiary hearing in which
          testimony was taken in open court and an order or other appealable judgment was
          entered. [LCvR 83.2(b)(1)/LCrR 44.1(b)(1)]; OR

 2. ☐     has participated in a junior capacity in an entire contested jury or bench trial in a
          federal district court or the Superior Court of the District of Columbia or a state trial
          court of general jurisdiction. [LCvR 83.2(b)(2)/LCrR 44.1(b)(2)]; OR

 3. ☐     has satisfactorily completed a continuing legal education trial advocacy course of at
          least 30 hours sponsored by the District of Columbia Bar or accredited by a State
          Bar. [LCvR 83.2(b)(3)/LCrR 44.1(b)(3)]




I declare under penalty of perjury that the foregoing is true and correct.


 December 11, 2024
 DATE                                                      SIGNATURE OF ATTORNEY
